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KAPLAN HECKER & FINK LLP                                                                       350 Fifth Avenue
                                                                                                      Suite 7110
                                                                                            New York, NY 10118
Direct Dial: (212) 763-0883                                                                     (212) 763-0883
Direct Email: rkaplan@kaplanhecker.com                                                    www.kaplanhecker.com

                                                                                          September 13, 2019

Via ECF

The Honorable Paul A. Engelmayer
United States District Court for the Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007

        Re:      Airbnb, Inc. v. City of New York, No. 18 Civ. 7712

Dear Judge Engelmayer:

       We write on behalf of Plaintiff Airbnb, Inc. (“Airbnb”) in the above-referenced action to
request a pre-motion conference concerning Airbnb’s anticipated motion for summary judgment.

        In August 2018, New York City enacted an unprecedented surveillance ordinance that
would require homesharing platforms like Airbnb, on a monthly basis, to disclose troves of
commercially sensitive information, including personal information about their hosts and how
they are using their homes. See N.Y.C. Admin. Code § 26-2101 et seq. As the Court has already
recognized, the information compelled by the Homesharing Surveillance Ordinance amounts to a
“wholesale replica of [a] booking service’s database as to New York City users.” Opinion &
Order, ECF No. 92 (“PI Decision”), at 33. 1 Booking services must make their monthly reports to
the Office of Special Enforcement (“OSE”), a City law enforcement agency, whose inspection
teams include New York City Police Department officers. See N.Y.C. Admin. Code § 26-
2101(a); Deposition of Christian Klossner (“Klossner Dep.”) at 37. Failure to comply would put
a booking service at risk of ruinous financial penalties. See N.Y.C. Admin. Code § 26-2104.

        On January 3, 2019, the Court preliminary enjoined implementation of the Ordinance,
holding that it likely violated the Fourth Amendment for two independent reasons. First, the
Ordinance provides no mechanism for precompliance review before a neutral arbitrator. PI
Decision at 37 (“The City . . . denied . . . that pre-compliance review is required of the monthly
provision of data that the Ordinance compels. . . . The City is wrong.”); see also id. at 39.
Second, the Ordinance is unreasonably broad and untailored, and its demands for information
extend into perpetuity. PI Decision at 34 (“[E]ven if this Court’s pre-effective-date assessment
of the reasonableness of the Ordinance qualified as constitutionally adequate pre-compliance


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  The Ordinance demands, among other things, the physical addresses of short-term rental accommodations; the full
names, physical addresses, phone numbers, and email addresses of hosts; the number of days that short-term rental
accommodations were booked; a statement as to how the accommodations were inhabited during the booking; and
the total fees received by booking services for such bookings. N.Y.C. Admin. Code § 26-2102(a).
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review . . . it is likely that the Ordinance’s categorical demand that all booking services make
sweeping monthly data productions would be held unreasonable[.]”); see also id. at 33.

        As the parties agreed at the outset, the issues in this case are “primarily legal in nature.”
PI Decision at 11 (citation omitted). Nothing in discovery has altered or undermined the Court’s
prior analysis or created any “genuine dispute as to any material fact”—to the contrary,
discovery has only confirmed that Airbnb is “entitled to judgment as a matter of law.” Fed. R.
Civ. P. 56(a); see also Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 250 (1986). Accordingly,
for substantially the same reasons set forth in the PI Decision, and as further explained below,
this Court should grant summary judgment in Airbnb’s favor and issue a permanent injunction
barring the Ordinance from being enforced. See Am. Freedom Def. Initiative v. Metro. Transp.
Auth., 889 F. Supp. 2d 606, 611 (S.D.N.Y. 2012) (“[T]he standard for a permanent injunction is
essentially the same as for a preliminary injunction, the difference being that the plaintiff must
show actual success rather than a likelihood of success.”).

        The Fourth Amendment of the U.S. Constitution functions to safeguard “the privacy and
security of individuals against arbitrary invasions by governmental officials.” Camara v. Mun.
Court of City and Cty. of San Francisco, 387 U.S. 523, 528 (1967). It protects not only
individuals, but businesses and their papers as well. See Hale v. Henkel, 201 U.S. 43, 76–77
(1906); see also City of Los Angeles v. Patel, 135 S. Ct. 2443, 2453 (2015). As a result,
“compelled production from home-sharing platforms of user records” falls easily within the
purview of the Fourth Amendment. PI Decision at 20; see also id. at 22 (holding that “platforms
have privacy interests in their user-related records that ‘are more than sufficient to trigger Fourth
Amendment protection’” (citation omitted)).

        The Homesharing Surveillance Ordinance fails to pass muster under the Fourth
Amendment for two independent reasons. First, the Ordinance provides no mechanism for pre-
compliance review. There are narrow exceptions to the government’s obligation to obtain a
warrant before it may demand access to private information. See Arizona v. Gant, 556 U.S. 332,
338 (2009). In the context of an “administrative search,” where the “primary purpose of the
search[] is distinguishable from the general interest in crime control,” a warrant supported by
probable cause is generally not required, but the subject of a search must still have “an
opportunity to obtain precompliance review before a neutral decisionmaker.” Patel, 135 S. Ct. at
2452; see also PI Decision at 31, 37. Because neither the Ordinance nor its implementing
regulations provide any such opportunity, the Ordinance violates the Constitution. See Final
Rules Governing Required Disclosures of Short-Term Rental Transactions By Booking Services,
ECF No. 110-1. Nothing in discovery changes the landscape on this issue, as the City itself
admits. See Def’s Responses and Objections to Airbnb’s Requests for Admission at 7.

       Second, even setting aside its lack of a precompliance review mechanism, the Ordinance
is unconstitutional because it makes untailored, perpetual and burdensome demands for
information. “[W]hen an administrative agency subpoenas corporate books or records, the
Fourth Amendment requires that the subpoena be sufficiently limited in scope, relevant in
purpose, and specific in directive.” See v. City of Seattle, 387 U.S. 541, 544 (1967). But as this
Court has observed, the Ordinance is “the antithesis of a targeted administrative subpoena for
business records.” PI Decision at 33. It compels disclosure of a voluminous array of sensitive
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business records; applies “across-the-board to all short-term listings in New York City . . .
regardless whether there is any factual basis whatsoever to suspect that any particular listing, or
user, or building, or complex, at issue is in violation of the Multiple Dwelling Laws”; and
“extend[s] into perpetuity.” Id. at 34. And while the unreasonable breadth of the Ordinance is
clear on the face of the law, it is underscored by the testimony of Christian Klossner, OSE
Executive Director, who admitted that “the law would potentially require reporting of
transactions that were not in violation of the law.” Klossner Dep. at 335. 2

        What’s more, the undisputed factual record makes clear that the City is fully capable of
obtaining data purportedly relevant to OSE’s law enforcement objectives without the
Ordinance—and without treading so heavily on the privacy rights of businesses that operate in
the City. Klossner testified that OSE has successfully obtained listing information from Airbnb
each time it has subpoenaed Airbnb. In fact, he admitted that by December 2018, OSE’s
“subpoenas [had grown] in scope, duration . . . [and had become] more adaptive to the particular
investigative needs,” and that OSE had gone “from not only obtaining compliance in relation to a
limited subpoena, but now obtaining compliance in response to subpoenas that seek a broader
swath of information about larger operations and larger targets.” Id. at 316; see PI Decision at
35 (finding no evidence that OSE’s compliance with “Fourth Amendment standards governing
administrative subpoenas, including tailoring, is impractical or destined to be ineffectual”).

         Airbnb’s compliance with a February 2019 subpoena puts the unreasonable nature of the
Ordinance in even starker relief. That subpoena sought substantially the same types of data as
the Ordinance, for thousands of listings. Klossner Dep. at 102, 292–93. Unlike the Ordinance,
however, the February 2019 subpoena was tailored, requesting information about specific
listings identified by listing ID and certain criteria corresponding to the City’s views on
illegality. Id. at 288, 291. The subpoena also was limited to a defined time period, and Airbnb,
of course, had the opportunity to object to the subpoena. Id. at 290. Airbnb and OSE reached a
settlement concerning compliance with the subpoena. Id. at 294. That settlement permits Airbnb
to produce significant data on an anonymized basis; permits OSE to issue follow-up requests for
de-anonymized data; and allows Airbnb to challenge certain follow-up requests in court for want
of a “good-faith investigative basis.” Id. at 298–99. 3

      For all these reasons, the Court should grant summary judgment in Airbnb’s favor and
permanently enjoin the Ordinance from taking effect.

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 For substantially the same reasons, the Ordinance also fails to pass muster under Article I, Section 12 of the New
York Constitution, which “affords greater protection against warrantless searches than the U.S. Constitution.” 5
Borough Pawn, LLC v. City of New York, 640 F. Supp. 2d 268, 278 (S.D.N.Y. 2009); see also People v. Scott, 79
N.Y.2d 474, 498–99 (1992) (Section 12 requires that administrative searches be “narrowly and precisely tailored”
and notes that they “pass constitutional muster” only if the industry is one subject to “pervasive governmental
supervision”).

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  Of course, the “mere fact that [OSE] may be made more efficient” if allowed to compel overbroad data disclosures
without precompliance review cannot serve as a justification for the Ordinance. Gant, 556 U.S. at 349. It is
nevertheless worth noting that discovery has revealed that OSE was not the impetus behind the Homesharing
Surveillance Ordinance in the first place. OSE did not even participate in discussions about the Ordinance until a
month or two before Klossner testified before City Council about the law—after hotel industry lobbyists had already
reviewed and commented on draft legislation. Klossner Dep. at 215–16, 218–19, 267–68.
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                                        Respectfully submitted,



                                        Roberta A. Kaplan

cc:   Counsel of Record (via ECF)
